          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 1 of 16




                   IN THE UNTIED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF OKLAHOMA

JAY CRABB,
                                  Plaintiff,
v.                                             Case No: 5:21-cv-303 F

CSAA GENERAL INSURANCE
COMPANY; CSAA INSURANCE
EXCHANGE and CSAA INSURANCE
GROUP,

                                Defendants.

     PLAINTIFF’S RESPONSE TO DEFENDANT, CSAA GENERAL INSURANCE
         COMPANY’S, MOTION FOR JUDGMENT ON THE PLEADINGS


       Pursuant to the grounds and controlling authorities discussed herein, Plaintiff, Jay

Crabb, respectfully requests an Order denying Defendant, CSAA General Insurance

Company’s, Motion for Judgment on the Pleadings [Doc. 10]. Defendant’s attempt to evade

responsibility for its bad faith denial of Mr. Crabb’s claim is premature and contrary to the

evidence implicated by its Motion.

                                      INTRODUCTION

       The basic facts underlying this case are straightforward, but there is no merit to

Defendant’s allegations that Mr. Crabb suffered no loss covered by the insurance policy in

effect when his home and boat dock were damaged by hail. Mr. Crabb’s home and dock

were insured against losses that occurred before the sale of his property was completed.

This type of policy is known as an occurrence policy.
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 2 of 16




       While his policy was in full force and effect, Mr. Crabb agreed to sell the property

to a third-party. Mr. Crabb retained the risk of any damage to his property until the sale

closed and possession was transferred to the buyer. Defendant does not dispute this fact and

the sales contract provision quoted on page 7 of its Motion confirms it as well. In reality,

nothing about the sales contract, to which Defendant was never a party, impacts the nature

or extent of coverage that existed when hail damaged the home and dock long before the

transaction between Mr. Crabb and the buyer closed. As with any loss suffered by a

policyholder, their loss occurs at the time it happens. There is no relevance to any sale of

the property at any point after the loss takes place. Nothing in the policy Defendant issued

to Mr. Crabb says otherwise and Defendant’s failure to cite a single provision from the

policy on this issue reveals the lack of any merit to its position. Thus, its denial of Mr.

Crabb’s claim without any supporting policy provision or investigation of his loss (admitted

on p. 4 of Defendant’s Motion) proves its breach of his policy and violation of Oklahoma’s

duty of good faith and fair dealing.1

       On March 27, 2020, before the sale closed, a storm damaged Mr. Crabb’s property.

Plaintiff submitted a claim for such hail damage within weeks of it being discovered. Under

the terms of his policy, Plaintiff was entitled to benefits for any damage sustained by his

home in accordance with his insurable interest “at the time of loss.” Ex. 1, Policy at p. 44

(Section I(A)(1)). That provision states:


1
 Defendant’s allegation that Mr. Crabb is only alleging bad faith is inconsistent with the
express language in his Petition which is quoted on page 3 of Defendant’s Motion. Mr.
Crabb specifically alleged Defendant “breached the implied covenant of good faith and fair
dealing and breached the insurance contract ….” Id.
                                             2
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 3 of 16




              A. Insurable Interest and Limit of Liability

                     Even if more than one person has an insurable interest
                     in the property covered, we will not be liable in any
                     one loss:

                     1.     To any "insured" for more than the amount of
                            such "insured's" interest at the time of loss; or

                     2.     For more       than   the   applicable   limit   of
                            liability.

Id. (Emphasis added). This clear and unambiguous language resolved any issue about Mr.

Crabb’s right to benefits for this loss, but Defendant deliberately misapplied it.

       Although the loss occurred while the policy was in full force and effect, Defendant

refused to perform its contractual and legal duties to inspect, evaluate and pay for the loss.

Its excuse for refusing to do so was the wholly irrelevant assertion of him no longer having

an insurable interest due to the sale.2 No other grounds were asserted and no exclusions

were raised before this litigation. Id. Defendant’s position is unsupportable and contrary to

the policy provision at issue.

       It is undeniable that Mr. Crabb had an insurable interest in the property when it

suffered damage from hail prior to his sale of the property. See 36 O.S. 3605(B). Yet,

Defendant intentionally disregarded such interest and did nothing to investigate his loss

before denying his claim. Under such circumstances, Defendant’s Motion should be denied.




2
 The denial letter stated: “Coverage for the loss has been declined given you no longer have
an insurable interest in the property and it no longer qualifies as a residence premises.” Ex.
2, Denial Letter.
                                              3
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 4 of 16




                            ARGUMENTS AND AUTHORITIES

I.     STANDARDS APPLICABLE TO MOTIONS FOR JUDGMENT ON
       THE PLEADINGS

       Motions for judgment on the pleadings under Fed.R.Civ.P. 12(c) are governed by the

same standard of review applicable to motions to dismiss under Fed.R.Civ.P. 12(b)(6).

Nelson v. State Farm Mut. Auto Ins. Co., 419 F.3d 1117, 1119 (10th Cir.2005). In that

regard, under Fed. R. Civ. P. 8(a)(2) a party asserting a claim must set forth “a short and

plain statement of the claim showing that the pleader is entitled to relief.” Heightened fact

pleading of specifics is not required. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)

(“we do not require heightened fact pleading of specifics”). Consequently, when reviewing

motions for judgment on the pleadings, trial courts must “accept all the well-pleaded factual

allegations in the complaint as true and view them in the light most favorable to the non-

moving party.” Id. (internal quotation marks and citation omitted); Ramirez v. Dept. of

Corr., State of Colo., 222 F.3d 1238, 1241 (10th Cir.2000). The inquiry is whether the

complaint contains “enough facts to state a claim to relief that is plausible on its face.”

Anderson v. Suiters, 499 F.3d 1228, 1232 (10th Cir.2007) (internal quotation marks and

citation omitted). “[T]the complaint must give the court reason to believe that this plaintiff

has a reasonable likelihood of mustering factual support for these claims.” Id.

“’[P]lausibility’ in this context must refer to the scope of the allegations in a complaint: if

they are so general that they encompass a wide swath of conduct, much of it innocent, then

the plaintiffs ‘have not nudged their claims across the line from conceivable to plausible.’”

Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (quoting Twombly, 127 S.Ct. at


                                              4
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 5 of 16




1974). The purpose of Twombly’s “plausibility” requirement is to “weed out claims that do

not (in the absence of additional allegations) have a reasonable prospect of success, [and]

also to inform the defendants of the actual grounds of the claim against them." Id. at 1248.

“[T]he degree of specificity necessary to establish plausibility and fair notice, and therefore

the need to include sufficient factual allegations, depends on context … [and] the type of

case.” Id. For example, “[a] simple negligence action may require significantly less

allegations to state a claim under Rule 8 than a case alleging anti-trust violations (as in

Twombly) or constitutional violations (as in Robbins).” Cutter v. Metro Fugitive Squad,

2008 WL 4068188, p. * 3 (W.D. Okla. 2008). “Even after Twombly, the [Complaint’s]

factual allegations need only contain enough allegations of fact ‘to state a claim to relief

that is plausible on its face.’” Christianson v. Park City Mun. Corp., 554 F.3d 1271, 1276

(10th Cir. 2009) (citing Twombly, 127 S.Ct. at 1974).

       The issue in reviewing the sufficiency of plaintiffs' claims is not whether they will

prevail, but whether they are entitled to offer evidence to support their claims. Scheuer v.

Rhodes, 416 U.S. at 232, 236, 94 S.Ct. 1683 (U.S. Ohio 1974). “Judgment on the pleadings

should not be granted ‘unless the moving party has clearly established that no material issue

of fact remains to be resolved and the party is entitled to judgment as a matter of law.’”

Park Univ. Enters., Inc. v. American Cas. Co. of Reading, PA, 442 F.3d 1239, 1244, (C.A.

10 Kan. 2006) (quoting United States v. Any & All Radio Station Transmission Equip., 207

F.3d 458, 462 (8th Cir.2000)). Because Defendant has not clearly established no material

issue of fact remains to be resolved, it has not demonstrated entitlement to judgment as a

matter of law. Moreover, the undisputable material facts discussed above (pp. 1-3) are more

                                              5
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 6 of 16




than sufficient to support Mr. Crabb’s allegations at the pre-discovery stage of this case.

Thus, Defendant’s Motion should be denied.

II.    SUFFICIENCY OF THE PLEADINGS

       In ¶ 40 of his Petition (Doc. No. 1-1), Mr. Crabb pled he was insured under a

homeowner’s policy issued by Defendants (No. 109055392). In ¶ 41, he pled that on or

about March 27, 2020, his property was damaged by a cause of loss insured under his policy.

In ¶¶ 42-44, Mr. Crabb pled that he promptly submitted a claim for his loss to Defendants,

that he made the premises available for inspection by the defendants, and that he cooperated

with the defendants and otherwise complied with all conditions precedent to recover under

the policy. In ¶ 45, Mr. Crabb pled that Defendants were required by the terms and

conditions of the policy to pay his claims, but they failed and refused to pay the proper

amount owed under the policy for covered damage to Mr. Crabb’s property. Mr. Crabb

further claimed that Defendants breached the implied covenant of good faith and fair dealing

and breached the insurance contract, as a matter of standard business practice, in numerous

respects specifically set forth therein.3 In ¶ 46, Mr. Crabb further pled that as a direct result

of the Defendants’ wrongful acts and omissions, he suffered loss of policy benefits owed

under his policy, emotional distress and other damages. In short, Mr. Crabb pled breach of

contract, bad faith and damage allegations that preclude any judgment for Defendant –

especially at this point.



3
 Defendant’s admission that it never investigated Mr. Crabb’s loss and the lack of any
policy provision supporting its denial of his claim easily coincide with several of the specific
assertions quoted on page 4 of Defendant’s Motion.
                                               6
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 7 of 16




III.   MR. CRABB HAD AN INSURABLE INTEREST IN THE SUBJECT
       PROPERTY AT THE TIME IT SUSTAINED A COVERED LOSS,
       RENDERING DEFENDANT LIABLE FOR BREACHING HIS
       POLICY/CONTRACT

       Oklahoma follows the “factual expectation” theory of insurable interest. Snethen v.

Oklahoma State Union of Farmers Educ. & Co-op. Union of Am., 1983 OK 17, 664 P.2d

377, 380; Delk v. Markel Am. Ins. Co., 2003 OK 88, ¶ 11, 81 P.3d 629, 636. Under this

theory there is an insurable interest in property if the insured would gain some economic

advantage by its continued existence or would suffer some economic detriment in case of

its loss or destruction. Snethen, 664 P.2d at 380 (emphasis added). This is also the theory

espoused by 36 O.S.§ 3605(B), which defines insurable interest as: “any actual, lawful,

and substantial economic interest in the safety or preservation of the subject of the

insurance free from loss, destruction, or pecuniary damage or impairment.” See Delk, 81

P.3d at 636–37.4

       Once the relationship between the insured and the property is found to be lawful and

to create a substantial economic interest, the underlying criteria which make up an

insurable interest are met. Here, Mr. Crabb was the record owner of the property and there

is no evidence that his interest was other than lawful, i.e., there is no evidence that it was

acquired in violation of the law or prohibited by law. No one held a title to the property

that was superior to Mr. Crabb’s interest. Since he had an insurable interest in the property

at the time of the covered loss to his insured property, Defendant had both a contractual


4
 The word “lawful” as used in § 3605(B) is not synonymous with the word “legal” and does
not require the application of the legal interest theory, but is merely used in the sense that
the interest was not acquired in violation of the law. Snethen, 664 P.2d at 381.
                                              7
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 8 of 16




and tort-based duty to perform its obligations under the policy. Its refusal to do so breached

both the contract and duty of good faith and fair dealing.

       Oklahoma appellate courts have previously addressed situations that are similar.

For example, in Carr v. Union Mut. Ins. Co., 1979 OK CIV APP 15, 598 P.2d 269

(approved for publication by the Oklahoma Supreme Court), the plaintiffs owned a house

in Idabel, Oklahoma. They purchased a homeowner’s policy from the defendant under

which their home and the unscheduled personal property therein were insured. Ultimately,

the plaintiff’s home was foreclosed upon and sold at a foreclosure sale. However, before

the foreclosure sale was confirmed, while the plaintiffs were still residing in the home, a

fire occurred. The fire destroyed all of the plaintiffs' unscheduled personal property in the

home and damaged the dwelling.

       The plaintiffs filed an action against, Union, the insurer, for loss of their personal

property. Union filed an answer alleging that since the policy was a homeowner’s policy,

the insured must own the real estate and dwelling in order to insure personal property.

Thus, the defense in the trial court and on appeal was the plaintiffs did not have insurance

on their personal property after their home was sold at foreclosure sale. The trial court ruled

for the plaintiffs on their claim and that order was affirmed on appeal. As the appellate

court noted:

       In the present case the redemption period, or at least the possibility of
       redemption, had not expired because the foreclosure sale had not been confirmed
       at the time of the fire. Therefore the Carrs still had an insurable interest in both
       the dwelling and their unscheduled personal property. Since the policy
       remained in effect at the time of the loss and the Carrs had an insurable
       interest which was insured, they were entitled to recover as a matter of law.
       We therefore hold that the trial court did not commit error in overruling Union's

                                               8
          Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 9 of 16




       motion for summary judgment, nor in overruling Union's demurrer to the
       evidence [emphasis added].

       In Phoenix Fed. Sav. & Loan v. Great Sw. Fire Ins. Co., 1979 OK CIV APP 49, 603

P.2d 356 (approved for publication by the Oklahoma Supreme Court), a companion case

to Carr, supra, Phoenix Federal held the mortgage to Carr’s home in Idabel. Carr’s

homeowner's insurance policy was issued by defendant Union Mutual and contained a loss

payable clause in favor of the mortgagee. The Carrs defaulted and Phoenix Federal initiated

a foreclosure action. A foreclosure sale was held and Phoenix Federal was the high bidder.

A motion to confirm the sale was filed the same day.

       Phoenix Federal, in its capacity as buyer, purchased a second insurance policy from

Great Southwest Fire Insurance Company (Great Southwest). Subsequently, the house was

damaged by fire while the Carrs were still living there, before the sale was confirmed.

       Phoenix Federal brought suit against both insurance companies. The trial court in

an amended journal entry granted judgment against the insurance companies for both the

fire loss and attorney fees. The court also granted a pro rata judgment against the

noncontributing insurance company if one of them should pay the full amount. Great

Southwest paid the entire judgment and Union Mutual, the mortgagor's carrier, appealed.

       Union Mutual claimed that all contractual obligations to Phoenix Federal terminated

when Phoenix Federal's interest as mortgagee merged with its ownership interest acquired

as buyer of the property at the foreclosure sale. It also argued that under the “relation-back

doctrine” the rights of the parties involved in a foreclosure sale are fixed as of the date of

sale and relate back to that date.


                                              9
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 10 of 16




       The Court of Appeals cited its ruling in favor of the Carrs in the companion case as

dispositive of Union Mutual’s arguments, stating that “[b]ecause the Carrs had an insured

interest remaining at the time of the fire, the mortgagee also retained its interest.” 603

P.2d at 358 (emphasis added). With respect to Union Mutual’s relation-back claim, the

Court stated “[t]he fact that a sale is confirmed will not retroactively eliminate the insurable

interest which existed during the period of time between the sale and confirmation of the

sale.” Id. The Court therefore affirmed the trial court’s ruling as a matter of law that an

insurable interest existed which was covered by insurance. Id. at 358-59.

       Oklahoma is not alone in determining that that the insured is entitled to recover if

the insured had an insurable interest and had insurance in place at the time of the loss,

regardless of subsequent events that might occur. As noted in Banks McDowell, Insurable

Interest in Property Revisited, 17 Cap. U.L. Rev. 165, 168–69 (1988):

       The vast majority of states have adopted a rule, often referred to as the ‘New
       York’ rule, that the insured is entitled to recover on his insurance policy because
       he had an insurable interest in the property and his loss should be measured at
       the time of the fire or other covered occurrence. The leading case to which this
       rule is traced is Foley v. Manufacturers' and Builders' Fire Ins. Co. of New York
       [152 N.Y. 131, 135, 46 N.E. 318, 319 (1897)]. The insureds owned land on
       which contractors were obligated to build houses, the subject of the insurance.
       Before completion, the buildings were destroyed by fire. As required by their
       contract, the contractors rebuilt. The Court of Appeals reasoned that since the
       loss fell within the exact terms of the policy, the only issue was whether the
       insureds had an insurable interest. Since the insureds owned the buildings which
       were being annexed to their land, they clearly had an insurable interest at the
       time of the loss and thus were entitled to recover on the policy.5

5
 Accord, Wolf v. Home Ins. Corp., 100 N.J. Super. 27, 241 A.2d 28, 38 (1968), aff'd, Wolf
v. Home Ins. Co., 103 N.J. Super. 357, 247 A.2d 345 (App. Div. 1968) (noting that
“plaintiffs held full legal title to the insured premises on the date of the fire” and stating
that “the ‘time of loss' can only intend the time of fire damage or destruction. If any other
meaning were inferred, then the time for valuing the loss would be uncertain in every case.
                                               10
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 11 of 16




       Oklahoma’s general rules regarding the interpretation of insurance policies are well

settled. The proper construction of the insurance contract is a question of law. Max True

Plastering Co. v. U.S.F. & G. Co., 1996 OK 28, 912 P.2d 861, 869. The insured has the

burden of showing that their claim is covered under the policy. See U.S. Fid. and Guar. Co.

v. Briscoe, 1951 OK 356, 239 P.2d 754, 756 (1952) (“contractor must bring himself within

the terms of the policy, before he can establish insurer's liability thereon”). Once the insured

establishes coverage, “the insurer has the burden of showing that a loss falls within an

exclusionary clause of the policy.” Pitman, 217 F.3d at 1298. “[M]ere ambiguity cannot, as

a matter of law, create a valid defense to a bad faith claim.” Wolf v. Prudential Ins. Co. of

Am., 50 F.3d 793, 800 (10th Cir. 1995). Construing ambiguous policy provisions against

the insured and in favor of the insurer “would not be in good faith and could not be

countenanced.” Id.

       In the present case, the subject policy covered insured losses incurred by Mr. Crabb

when: 1) the policy was in force and effect; and 2) Mr. Crabb had an insurable interest in


Defendant insurer offers this court no fixed standard for determining when a casualty loss
is to be measured and argues only that Here, after taking cognizance of collateral events
not involving the insurer which came to be realized nearly five months after the fire, there
was no loss. Nothing in New Jersey law commits this court to such a view …”); Milwaukee
Mechanics Ins. Co. v. Maples, 37 Ala. App. 74, 66 So. 2d 159 (Ala. Ct. App. 1953); Tublitz
v. Glens Falls Ins. Co., 179 N.J. Super. 275, 277–79, 431 A.2d 201 (Law. Div. 1981)
(although buildings were scheduled for demolition at the time one of them was destroyed
by fire, insurer was nonetheless obligated to indemnify the plaintiff for the loss because “it
is reasonable to infer from all the surrounding circumstances that plaintiff expected his fire
insurance coverage to be in force until demolition was actually begun.” The Court found
that the Plaintiff’s insurable interest was not destroyed by the existence of an executory
contract for demolition of a building and that the plaintiff was entitled to partial summary
judgment on his claim.) (emphasis added).
                                              11
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 12 of 16




the property. Both of those conditions were satisfied and Defendant has pointed to nothing

in Mr. Crabb’s policy that indicates differently. In fact, Defendant’s breach of contract is

clearly demonstrated by its statement on page 7 of its own Motion [Doc. 10] that “CSAA

General understood that it would be required to cover damages that arose after the sale

but prior to closing (as the risk of loss was on Plaintiff)” (emphasis added). The sale

closing weeks after the loss occurred does not change the outcome one iota. The only thing

that remains is determining the quantum of Mr. Crabb’s damages.6 The insurance policy

Defendant issued to Mr. Crabb promised to indemnify him for covered damage sustained

during the policy period. Covered damage occurred during the policy period, yet Defendant

denied his claim for reasons not contemplated in the policy. Defendant’s own statements

show that they breached their contract and their Motion should be denied.

IV.    A QUESTION OF FACT EXISTS ON WHETHER DEFENDANT’S
       CONDUCT WAS REASONABLE

       Under Oklahoma law, it is axiomatic that an insurer has an "implied-in-law duty to

act in good faith and deal fairly with the insured to ensure that the policy benefits are

received.” Newport v. USAA, 2000 OK 59, 11 P.3d 190, 195 (citing Christian v. American

Home Assurance Co., 1977 OK 141, 577 P.2d 899, 901). The essence of a bad faith action

"is the insurer's unreasonable bad-faith conduct, including the unjustified withholding of

payment due under the policy." Id., 11 P.3d at 195 (citation omitted). It is Defendant’s

responsibility to properly investigate the insured’s claim. Brown v. Patel, 2007 OK 16,



6
  Because Mr. Crabb suffered a loss of policy benefits owed under his policy, Defendant’s
claim that he suffered no bad faith damages should similarly be rejected.
                                            12
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 13 of 16




157 P.3d 117, 122 (noting that “a duty to timely and properly investigate an insurance claim

is intrinsic to an insurer’s duty to timely pay a valid claim”) (emphasis in original). When

presented with a claim by its insured, an insurer "must conduct an investigation reasonably

appropriate under the circumstances" and "the claim must be paid promptly unless the

insurer has a reasonable belief that the claim is legally or factually insufficient." Newport

v. USAA, 2000 OK 59, 11 P.3d 190, 195 (citing Buzzard v. Farmers Ins. Co [“Buzzard II”],

1991 OK 127, 824 P.2d 1105). “The decisive question is whether the insurer had a 'good

faith belief, at the time its performance was requested, that it had a justifiable reason for

withholding payment under the policy.” Buzzard II, 824 P.2d at 1109 (citing Buzzard I)

(emphasis added). "The knowledge and belief of the insurer during the time period the

claim is being reviewed is the focus of a bad-faith claim." Buzzard I, 736 P.2d at 159. It

is also axiomatic that an insurer’s duty to pay claims immediately “recognizes that a

substantial part of the right purchased by an insured is the right to receive the policy

benefits promptly. Unwarranted delay precipitates the precise economic hardship the

insured sought to avoid by purchase of the policy.” Christian v. American Home Assurance

Co., 1977 OK 141, 577 P.2d 899, 903. As noted in McCorkle v. Great Atl. Ins. Co., 1981

OK 128, 637 P.2d 583:

       [T]he essence of the intentional tort of bad faith with regard to the insurance
       industry is the insurer's unreasonable, bad-faith conduct, including the
       unjustified withholding of payment due under a policy, and if there is
       conflicting evidence from which different inferences may be drawn
       regarding the reasonableness of insurer's conduct, then what is reasonable
       is always a question to be determined by the trier of fact by a consideration
       of the circumstances in each case. [637 P.2d at 587] [emphasis added].


                                             13
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 14 of 16




       In this case, as Defendant itself freely admits, there was no investigation of Mr.

Crabb’s loss.7 Nor was its unilateral “determination” that Mr. Crabb suffered “no loss”

legally supportable under Oklahoma law.8 Similarly unreasonable was Defendant’s sham

allegations that Mr. Crabb lacked an insurable interest when this loss occurred. Delk v.

Markel Am. Ins. Co., 2003 OK 88, ¶ 11, 81 P.3d 629, 636. Such acts and omissions are the

essence of a bad faith claim, and a jury can easily decide doing absolutely nothing to honor

a valid claim is unreasonable.

V.     DEFENDANT’S BASELESS “METAL ROOF” EXCLUSION ARGUMENT

       Defendant’s last plea for judgment on the pleadings rests on the “plainly applicable

exclusion for metal roofs.” Defendant’s Motion at p. 9. However, there is nothing “plainly

applicable” about the purported exclusion at this point in the litigation. Nor has Defendant

offered any proof or evidence all the damage to Mr. Crabb’s property was merely

“cosmetic”, probably because, in breach of its duties, no investigation was conducted into

the nature or extent of any damage. See Defendant’s Motion at p. 4 (“… there was no

investigation per se: CSAA General simply received the claim, requesting [sic] Plaintiff’s


7
 See Defendant’s Motion at p. 4, stating: “for instance, there was no investigation per se:
CSAA General simply received the claim, requesting Plaintiff’s contract of sale and
determined that there was no coverage” (emphasis added).
8
 To determine whether an inference of bad faith is permissible, Defendant’s actions must
be evaluated to judge (1) the reasonableness of the insurer's actions in light of the law
applicable to the claim at the time of denial, and (2) the facts Midland knew or should have
known at the time (or times) that Willis requested the company to perform its contractual
obligations. Willis v. Midland Risk Ins. Co., 42 F.3d 607, 612 (10th Cir. 1994) (citing
Timmons v. Royal Globe Ins. Co., 1982 OK 97, 653 P.2d 907, 914). Defendant is held to
knowledge of the applicable Oklahoma law, and the reasonableness of their decision must
be judged in light of that law. Id.
                                             14
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 15 of 16




contract of sale and determined that there was no coverage.”) (emphasis added). Yet, “[a]

motion for judgment on the pleadings ‘should not be granted unless the moving party has

clearly established that no material issue of fact remains to be resolved and the party is

entitled to judgment as a matter of law.’” Colony Ins. Co. v. Burke, 698 F.3d 1222, 1228

(10th Cir. 2012) (quoting Park Univ. Enters. v. Am. Cas. Co., 442 F.3d 1239, 1244 (10th

Cir. 2006)); Park Univ. Enters., Inc. v. Am. Cas. Co., 442 F.3d 1239, 1244 (10th Cir. 2006)

(quoting U.S. v. Any & All Radio Station Trans. Equip., 207 F.3d 458, 462 (8th Cir. 2000)).

       Mr. Crabb’s Petition pled that his property suffered a loss that Defendant wrongly

refused to cover. Nothing in his Petition says anything about a “metal roof.” Nor did

Defendant deny this claim on the basis that an exclusion for “Cosmetic Damage to Metal

Roof Covering Caused by Hail” somehow applied. Ex. 2, Denial Letter. Indeed, as shown

by the claim file (Doc. 9-4), Mr. Crabb’s claim was for damage to his roof and boat dock.

       Defendant has not “clearly established that no material issue of fact remains to be

resolved and [it] is entitled to judgment as a matter of law.” Park Univ. Enters., Inc. v. Am.

Cas. Co., 442 F.3d at 1244. Likewise, it has not established the purported “metal roof”

exclusion applies to this loss through any evidence. Nor, due to its admitted failure to

investigate this loss at all, can it establish any damage is merely cosmetic.

                                      CONCLUSION

       Pursuant to the foregoing grounds and authorities, Mr. Crabb respectfully submits

that Defendant’s Motion should be denied in its entirety.




                                              15
         Case 5:21-cv-00303-F Document 23 Filed 08/12/21 Page 16 of 16




                                           MANSELL ENGEL & COLE

                                           s/ Keith F. Givens
                                           Steven S. Mansell, OBA #10584
                                           Kenneth G. Cole, OBA #11792
                                           Keith F. Givens, OBA#16501
                                           204 North Robinson Avenue, 21st Floor
                                           Oklahoma City, OK 73102-7201
                                           T: (405) 232-4100 ** F: (405) 232-4140
                                           kgivens@meclaw.net

                                           ATTORNEYS FOR PLAINTIFF



                              CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2021, I filed the attached document with the Clerk
of Court. Based on the records currently on file in this case, the Clerk of Court will transmit
a Notice of Electronic Filing to those registered participants of the Electronic Case Filing
System.



                                                   s/ Keith F. Givens




                                              16
